                                           Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 1 of 23
JS ..          (R~   '"'"   <C,R.                                 contamed herem      ~~~e;ac~n~~!~n~~f~n~!                   semce of pleadmgs or other papersL                       elept as~;r~b~::!
The JS 44 civil cover sheet and the
provided by local rules of court                                  roved by the Judicial Conference of the Umted States m September 1974, 1s reqmred for the use of the Clerk of Court for the
purpose of1mt1atmg the civil docke                                E INSTRUC1/0NS ON NhXT PAGE Of THIS FORM J

I. (a) PLAINTIFFS                                                                                                      DEFENDANTS                                         t    8
                                                                                                                     National Railroad Passenger c<ft>oration (d/b/a .,.......,....,J
                                                                                                                                                                                                      fl.
    Bnan D Whitmore
                                                                                                                     Brotherhood of Maintenance of Way Employ
           (b)   County of Residence of First L 1sted Plam                                                             County of Residence of F!fst Listed Defendant                          hiladelph1a. PA
                                   (EXChPT IN US Pl.Al                                                                                         (IN US Pl.Al1"71FF C
                                                                                                                       NOTE       IN LAND CON'DEMNA TION CASES,
                                                                                                                                  THE TRACT OF LAND !NVOL VED


           (C)   Attorneys (Firm Name Address. and Telephone                                                            Attorneys (If Known)

    Mark D. Schwartz. Esq. P..O Box 330, Bryn Mawr, PA 19010. 610
    525-5534

    II. BASIS OF JURISD CTIO                             T   (Placean "X' mOneBoxOn/y)                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                             r m One Box/or Ptazntiff
                                                                                                                   (For Diversity Cases Only)                                                  and One Box for Defen~dat
0 I            U S Government                                                                                                                  PTF            DEF                                                  PTF         EF
                 Plamtiff                                    (US Government Not a Party;                      Citizen of This State       V:'J I
                                                                                                                                               I Incorporated or Pnnc1pal Place                                     :'."J 4   :X 4
                                                                                                                                                   of Busmess In Th.ts State

CJ 2           U S Government                    '1 4   Diversity                                             Citizen of Another State                              2    Incorporated and Pnnc1pal Place             CJ 5     :'."J 5
                 Defendant                                (Indicate Cmzenship of Pames m Item Ill)                                                                          of Busmess In Another State

                                                                                                                                                                    3    Foreign Nation                              n   6    CJ 6


    IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                                             o e Descnouons
                                                                                                                                                                Cl IC khere fior N·ature o fS mt Cd
I                 CONTRACT                      .t                          TORTS                                FORFEITURE/PENALTY                              ""NKRUPTcv. :· ·.· 1•0 • .,.. 91'HER,gcATUTES                          I
    CJ 110 Insurance                                 PERSONAL INJURY                PERSONAL INJURY           :::J 625 Drug Related Setmre           n  422 Appeal 28 use 158                 0 375 False Clanns Act
    :::J 120 Manne                              CJ 310 Airplane                 0 365 Personal Injury ·                of Property 21 USC 881        CJ 423 Withdrawal                        0 376 Qm Tam (31 t:SC
    CJ 130 Miller Act                           :::J 31 5 Airplane Product              Product Liabihty      n 6900ther                                    28USC157                                        3729(a))
    n 140 Negotiable Instrument                            Liabihty             CJ 367 Health Care/                                                                                           CJ      400 State Reapportionment
    CJ 150 Recovery of Overpayment              CJ 320 Assanlt. Libel &                Phannaceutlcal                                                     PROP• ~ I y RIGHTS                  CJ      410 Antitrust
             & Enforcement of Judgment                     Slander                     Personal Injury                                               n    820 Copynghts                       CJ      430 Banks and Bankmg
    CJ I 51 Medicare Act                        n 330 Federal Employers'               Product L1ab1hty                                              CJ 830 Patent                            CJ      4 50 Commerce
    CJ I 52 Recovery of Defaulted                          Liab1hty             n 368 Asbestos Personal                                              CJ 8.3 5 Patent · AbbreYlated            0       460 Deportation
             Student Loans                      CJ 340Manne                             Injury Product                                                        New Drug Apphcat10n             :'."J   4 70 Racketeer Influenced and
             (Excludes Veterans)                CJ 34 5 Manne Product                  Liab1hty                                                      :::J 840 Trademark                                    Cormpt Organizations
    n 15 3 Recovery of Overpayment                         L1ab1hty               PERSONAL PROPERTY                        I _AHIHl                          ~IH'IA.T Slf'.f'.l!W   TY        n       480 Consumer Credit
             of Veteran's Benefits              CJ 350 Motor Vehicle            CJ 370 Other Fraud             CJ 710 fair Labor Standards           :'."J   861 tnA (1395ft)                 :::J    490 Cable/Sat TV
    CJ 160 Stockholders· Suits                  :::J 355 Motor Vehicle          CJ 371 Truth m Lendmg                    Act                         CJ      862 Black Lung (92 3)            :::J    850 Secunt1es/Commodit1es!
    :I 190 Other Contract                                 Product L1ab1hty      CJ 380 Other Personal          CJ 720 Labor/Management               CJ      863 DIWC/DIWW (405(g))                         Exchange
    CJ 195 Contract Product L1abibty            0 360 Other Personal                   Property Damage                   Relations                   :::J    864 SSID Title XVI               n       890 Other Statutory Actions
    CJ 196 Franch.tse                                     Injury                CJ 385 Property Damage         :::J 740 Railway Labor Act            CJ      865 RSI (405(g))                 rJ      891 Agncultural Acts
                                                CJ 36~ Personal Injury -               Product L1ab1hty        '.1 751 Frumly and Medical                                                     n       893 EnY!ronmental Matters
                                                          Medical Maloractlce                                            Leave Act                                                            n       895 Freedom of Information
I               REAL vuoPER1Y                          C NIL RIGHTS; • ~       PRISONER PETITIONS              n 790 Other Labor L1t1gat1on             FEDERAL TAX SUITS                                  Act
    n      210LandCondemnatJon                  CJ 440 Pther CiVll Rights        Habeas Corpus:                n 791 Employee Retirement             CJ 870 Taxes (U S Plamtiff               CJ      896 Arbitration
    CJ     220 Foreclosure                      CJ 441 rvot1ng                CJ 46 3 Allen Detamee                     Income Secunty Act                  or Defendant)                     CJ      899 Admm1strat1ve Procednre
    CJ     230 Rent Lease & EiectJnent      ~Employment                       n 510 Mot10ns to Vacate                                                n 871 IRS Tiurd Party                                 Act!ReY1ew or Appeal of
    :::J   240 Torts to Land                             Housmg/                      Sentence                                                              26 USC 7609                                    Agency Decision
    CJ     24 5 Tort Product L1ab1bty                    Accommodations       n 530 General ,                                                                                                 n       950 Const1tut10nal1ty of
    CJ     290 All Other Real Property          CJ 445 Amer w/D1sab1hties. 0 5 35 Death Penalty                       IMMIGRATION                                                                          State Statutes
                                                         Employment              Other:                        Cl 462 Naturaltzatlon ApphcatJon
                                                :::J 446 Amer w/D1sabiht1es - CJ 540 Mandamus & Other          n 465 Other Imm1grat1on
                                                         Other                CJ 550 CIYll Rights                     Actions
                                                '1 448 EducatJon              CJ 555 Pnson Condition
                                                                              CJ 560 CIYll Detainee -
                                                                                      Conditions of
           ~                                                                          Confinement

~·          CRIG IN (Place an '"X          In   One Box Only)
               ll>ngmal         ['J   2 Removed from                  :::J 3    Remanded from             :1 4 Remstated or      :::J 5 Transferred from                 06         Mult1d1stnct            :1 8 Mult1d1strict
           \.., roceedmg                 State Court                            Appellate Court                Reopened                  Another D1stnct                            L1t1gat10n -                  L1t1gat10n -
                                                                                                                                         f<pecify)                                  Transfer                      Dlfect Fiie
                                                     Cite the li S C1v1l Statute under which you are filmg (Do not cite jurisdictional statutes unless diversity)

    VI. CAUSE OF ACTION
                                                     42 USC 1981 Title VI I of the Civil R1ahts Act of 1964 as amended 42 USC Section 2000e                                                           I
                                                               a..,......,.._ <(' caus~
                                                     Bnef descnptlon
                                                                                   ,/"c... C/( ~
                                                                                                -\ ~
                                                                                                       .r -(a.:. w~             r-\o        £-Q,.I::_ )~k-                                      I           I
    VII. REQUESTED IN     n CHECK IF nus IS A CLASS ACTION                                                       DEMAND$                                             CHECK YES only 1, d e 7 ed 1n complamt
         COMPLAINT:          L'l'<'DER RL'LE 23, FR Cv P                                                            more than $150,000                               JURY DEMAND:                           Yes      LJNo

    VIII. RELATED CASE(S)
          IF ANY           (See mstrucuons)
                                                                                                                                                             lX)CKET Nl:MBER                          DC T 16 201lf

           RECEIPT#                      AMOUNT                                         APPL YING 1FP                                 JLTIGE                                        MAG JUDGE
                                Case 2:18-cv-04447-ER   Document
                                                   UNITED          1 Filed
                                                          STATES DISTRICT   10/16/18 Page 2 of 23
                                                                          COURT
                           fr'                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA                                         A8                tJ ;:{;l 4 7
                           11'
                       (to ~US!
                                                                                DESIGNATION FORM
                                      b:id;ounsel or pro se plaintiff to mdzcate the category of the case for the purpose ofassignment to the appropriate calendar)
                                                                                                                                                                      4

                          \..     ~    ....
Address of Plaintiff~                                    ,         8390 Crofton Lane, Merchantville, NJ 08109
Address of Defendant                                                           30th Street station , Philadelphia
Place of Accident, Incident or Transaction:                                                            in the PA jurisdiction


REL.A TED CASE, IF ANY:

Case   Number~                                                        Judge·_                                                     Date Termmated.·

Civil cases are deemed related when Yes is answered to any of the followmg questions.

1.     Is this case related to property mcluded man earlier numbered smt pendmg or w1thm one year                                    YesD                   NoD
       previously terminated action m this court?

2.     Does this case involve the same issue of fact or grow out of the same transact10n as a pnor suit                              YesD                  NoD
       pending or within one year previously tenninated action m this court?

3      Does this case mvolve the validity or infrmgement of a patent already in suit or any earlier                                  YesD                  NoD
       numbered case pending or within one year prev10usly termmated action of this court'>

4.     Is this case a second or successive habeas corpus, social s_ecunty appeal, or prose civil rights                              YesD                  NoD
       case filed by the same individual?

I certify that, to my knowledge, the within case Dist                   ~is not       related to any case now pending or within one year previously terminated action m


                                                                                                                                           ~osr-7
this court except as noted above

DATE.X_~ \)-o.._ ~
                                                                                                                                                Attorney l D # (if applicable)


CIVIL: (Place a       vin one category only)
A.            Federal Question Cases:                                                            B.    Diversity Jurisdiction Cases:

D t.         Indemnity Contract, Marme Contract, and All Other Contracts                         01          Insurance Contract and Other Contracts
D 2.         FELA                                                                                D 2.        Airplane Personal Injury
D 3.         Jones Act-Personal Injury                                                           D     3.    Assault, Defamat10n
D 4.         Antitrust                                                                           D     4.    Marme Personal Injury
&s           Patent                                                                              D s
                                                                                                 D
                                                                                                             Motor Vehicle Personal Injury




~o
             Labor-Management Relations                                                                6.    Other Personal Injury (Please specify)
             Civil Rights                                                                        D     7.    Products L1abil1ty
             Habeas Corpus                                                                       D s         Products Lmb1hty -- Asbestos
             Securities Act(s) Cases                                                             D     9.    All other Diversity Cases
             Social Secunty Review Cases                                                                     (Please specify) _ _
D      lt.   All other Federal Question Cases
             (Please specify) _



                                                                                ARBITRATION CERTIFICATION
                                                        ([he effect of this certificat10n 1s to remove the case from elzgtb1/tty for arbitration)

I,                 Mark D. Schwartz
                              _ _ _ _ _ ___, counsel of record or pro se plamttff, do hereby certify




NOTE A tnal de novo will be_a tnal by JUT)' only 1f there has been comphance with f R C.P. 38.

Cl> 609 (512018)
             Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 3 of 23

                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                           CASE MA.1'lAGEMENT TRACK DESIGNATION FORM
~K\tW               \J.   W\-\\\Ma~
                                                                             CIVIL ACTION

                                                                                18
                                                                             NO.

 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus - Cases brought under 28 u.S.C. § 2241 through§ 2255.                             ( )

 (b) Social Security - Cases requesting review of a decision of the Secretary of I Iealth
     and I Iuman Services denying plaintiff Social Security Benefits.                                ( )

 (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

 (d) Asbestos - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                           ( )

 (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
     commonly referred to as complex and that need special or intense management by
     the court. (See reverse side of this form for a detailed explanation of special
     management cases.)




                                                                       fk."'"- ~ S:..-Lv-~w--\- '"'--
 Date'          '                    Attorney-at-la                               R:u.i-...._::tt..=fL
                                                                         Attorney for
~\OG)~t;:,i                        <o \o -, )-S - <::Js-3<-t           ~"~ "}:.~-.)~ <4'b~ *-<::: ,f"~··,\
                                                                                                            <..cJA-
 Telephone                            FAX Number                         E-Mail Address


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Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 4 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 5 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 6 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 7 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 8 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 9 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 10 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 11 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 12 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 13 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 14 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 15 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 16 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 17 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 18 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 19 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 20 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 21 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 22 of 23
Case 2:18-cv-04447-ER Document 1 Filed 10/16/18 Page 23 of 23
